                          UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE



  ANDREW JOSTEN LOVINGOOD,

               Plaintiff,
  v.
                                                                No. 3:19-cv-00009
  BILL JOHNSON, DERRICK GRAVES;

               Defendants.


                                 MOTION IN LIMINE NO. 6

        Comes the Defendant Bill Johnson, and respectfully requests that Plaintiff’s

  request for jury instructions concerning color of law be denied as this Defendant admitted

  acting under color of law in his Answer. Accordingly the same is not disputed and the

  jury need only be told that the Defendant was acting under color of law.

        In support of this Motion, this Defendant submits a Memorandum of Law.

        RESPECTFULLY SUBMITTED this 15th day of November, 2021.

                                                  s/ Arthur F. Knight, III
                                                  Arthur F. Knight, III, BPR #016178
                                                  TAYLOR & KNIGHT, P.C.
                                                  800 South Gay Street, Suite 600
                                                  Knoxville, TN 37929
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on November 15, 2021, a copy of the foregoing was filed
  electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
  system to all parties indicated on the electronic filing receipt. All other parties will be
  served by U.S. Mail. Parties may access this filing through the Court’s electronic filing
  system.


                                              s/Arthur F. Knight, III
                                              Arthur F. Knight, III




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